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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

 

IN RE APPLICATION OF THE UNITED l\/lisc. Action No. 17-2682 (BAH)

STATES OF Al\/IERICA FOR AN ORDER

PURSUANT TO 18 U.S.C. § 2703(D) ChiefJudge Beryl A. I-lowell
MEMORANDUM OPINION

 

In October 2017, the government sought an order, pursuant to 18 U.S.C. § 2703(d) ofthe
Stored Communications Act (“SCA”), 18 U.S.C. §§ 2701 et seq., to compel Royal Caribbean
Cruises, Ltd. (“RCCL”) “an internet service provider based in l\/liami, Florida, to disclose
subscriber and transactional records in relation to” money transfers executed via the internet at
specific times on three consecutive days using a specific lnternet Protocol (“lP”) address.
Amended Application of the U.S. for Order Pursuant to 18 U.S.C. § 2703(d) (“Amend. App.”) at
1, 7, ECF No. 1. A l\/lagistrate Judge denied the application on the ground that the government
had failed to show that RCCL is either a “provider of electronic communication service”
(“ECS”) or a “provider of remote computing service” (“RCS”) subject to a disclosure order
under § 2703(d). See l\/lag. J.’s Order Denying Amend. App. (“l\/lag. J. Order”) at 2-3, ECF No.
2. Pending before the Court is the government’s objection to the l\/lagistrate Judge’s denial. See
Gov’t’s Obj. l\/lag. J. Order (“Gov’t’s Obj.”), ECF No. 3. Following a hearing and supplemental
submissions from RCCL and the government, the Court concludes, as RCCL concedes, that for
purposes ofthe government’s application, objection, and proposed § 2703(d) order, RCCL is an
ECS provider under the SCA. Thus, the government’s objection is sustained, the l\/lagistrate

Judge’s order is reversed, and the application is granted.

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I. BACKGROUND

The procedural history of this matter is summarized briefly below, followed by a
description of RCCL’s electronic communication service as relevant to the application at issue.

A. Procedural History

O'n July 25, 2017, the government filed an application, in Miscellaneous No. 17-1756, for

a § 2703(d) order to compel RCCL to disclose subscriber and transactional records related to

money transfers made, using a particular IP address (“Target IP Address”), _

_ See Amend, App. at 2-3, 7.l A Magistrate
Judge stayed the government’s application on July 31, 2017, pending supplementation of the
application with additional information, including, as relevant here, any authority supporting the
government’s assertion that RCCL is a provider of ECS or RCS within § 2703’s meaning. Id. at
3. The government withdrew the application on August 22, 2017, and, nearly two months later,
filed an amended application in the captioned l\/liscellaneous docket that addressed the
Magistrate Judge’s inquiry. Ia'. Over a month later, on November 29, 2017, the l\/lagistrate
Judge denied the amended application on the ground that the government’s argument, if

accepted, would subject to § 2703(d) “every entity which now offers free WiFi,” a conclusion

 

' The government sought this order, pursuant to § 2703(d) and 18 U.S.C. § 3512(a),_

"andfol'
determine the nature and scope ofthc individual’s or individua|s’ activities." Amend. A.pp. at 1, 7~8. _

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the Magistrate Judge could not square “with the intent of Congress in enacting the [SCA].” l\/lag.
J. Order at 2--3.2

The government promptly objected. See Gov’t’s Obj. Following a hearing held the next
day, the government submitted additional information in response to this Court’s inquiries,
including that “RCCL is not prepared to take, and does not take, a position on the legal issue_
whether they constitute an ‘electronic communications service’ or ‘remote computing service’
for purposes ofthis request”_but that “[i]f requested by the Court, RCCL will research and brief
whether or not it has a position on the issue.” Gov’t’s Notice of Filing In Resp. to Court’s Order,
at 2, ECF No. 4. Following a second hearing, RCCL was afforded the opportunity to address
“(1) the configuration of its on-board internet systems and (2) whether RCCL is a provider of
‘electronic communications services’ or ‘remote computing Services’ for purposes ofthe
government’s Objection.” l\/linute Order, dated Jan. 12, 2018. RCCL made its submission on
March 1, 2018. RCCL’s Resp., ECF No. 10.

B. Background Concerning Royal Caribbean

RCCL, an American cruise company based in Miami, Florida, Amend. App. at 1,
controls several Liberia-based entities that own cruise ships operating under the Royal Caribbean
International, Celebrity Cruises, and Azamara Club Cruises brands, Decl. of Terry Griffith,
Director, lncident Mgmt., RCCL (“RCCL Decl.”) 11 3, ECF No. 11. To connect cruise ships to
the internet, RCCL contracts with an lnternet Service Provider (“ISP”), which owns and operates
an antenna on each cruise ship “used for satellite connectivity to and from the ISP’s shoreside
network-the infrastructure owned and managed by the ISP that allows the ISP’s customers to

access the lnternet.” Id. 11 4. To enable the flow of internet communications between cruise

 

2 The Magistrate Judge unsealed her Memorandum Order denying the application on the same day of
issuance. Minute Order, dated Dec. 12, 2017.

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ships and the internet, the ISP assigns each cruise ship’s antenna a temporarily exclusive 1P
address from among the public IP addresses that have been allocated to that ISP by the
appropriate regional internet registry. Id. 11 5. All communications between the cruise ship and
the internet transmitted through the antenna use that public IP address. ld.

Each RCCL cruise ship also has an internal communication network (“Ship Network”) to
which onboard devices, such as personal mobile devices and laptops, may connect and through
which such devices may access the internet through the lSP’s antenna. Ia’. 11 6. Each Ship
Network is typically subdivided into four lnternal Networks that can be used to connect to the
internet and a fifth lnternal Network that generally does not connect to the internet, Id. The four
internet-connected lnternal Networks typically are (1) an encrypted network for RCCL
employees’ business use, (2) an encrypted network for vendors, known as “VendorNet,” (3) an
unencrypted network for guests and for crew members’ personal use, and (4) an encrypted
Unlicensed l\/lobile Access network for cellular telephone communications over the internet, Id.
RCCL passengers, vendors, and crew members can connect wireless-enabled devices they have
brought onboard with them to the applicable internal network. Id. RCCL typically contracts
with a company that provides hardware and software to enable passengers to connect to the
internet using Wi-Fi access points that are part ofthe Ship Network. Id. 11 7.

When a wireless-enabled device connects to one ofthe four internet-connected lnternal
Networks, a Dynamic Host Configuration Protocol (“DHCP”) server for that network
automatically assigns that device a non-routable “private” IP address, which is unknown outside
the Ship Network. Id. 11 8. RCCL has contracted with a company called Xcontrol to provide and
operate the DHCP server that automatically assigns private IP addresses on the lnternal Network

that passengers and crew use for personal use on RCCL ships operating under the Celebrity

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Cruises brand. Ia’. Each private IP address transmits communications only between a user’s
device and the Ship Network, not directly between the user’s device and the internet. la'. Only
the Ship Network_using the public lP address associated with the antenna_transmits
communications through the antenna to the internet. Id. During all relevant periods, the Target
IP Address was the public IP address assigned to the antenna installed onboard the RCCL ship at
issue. Id. 11 11. That IP address was assigned to the ship’s antenna by an ISP called Harris
CapRock Communications (“HCCL”), with which RCCL had contracted to provide internet
satellite connectivity to the ship. 1a’.3 I-lCCh used the Target IP Address for internet
connectivity between the ship and HCCL’s shoreside network in the United Kingdom. Ia’.

By connecting to RCCL’s passenger-accessible lnternal Network, RCCL’s passengers
can “stream music and movies, upload pictures, video chat with family and friends using
FaceTime or Skype, check [their] email, look [at] stock prices, surf the web and stay connected
with work.” How Fast Is Royal Caribbean ’s VOOM Wi'-Fi lnternet Connectl'on On Boara'?,
ROYAL CARIBBEAN INT’L, https://www.royalcaribbean.com/faq/questions/onboard-internet-wifi-
speed (last visited l\/lar. 7, 2018). RCCL provides passengers with two options to access the
internet. See Whai‘ lnternet Optl'ons Are Avai'lable On Board Royal Caribbean Cruise Shi'ps?,
ROYAL CARIBBEAN INT’L, https://www.royalcaribbean.com/faq/questions/connect-onboard-
internet-wifi (last visited l\/lar. 7, 2018). Passengers may access RCCL’s wireless internet
service with a WiFi-capable device or visit one of several internet cafés located throughout the
ship. Ia’. To access the internet wirelessly, a passenger must (1) “[c]onnect to ‘royal-wifi’ on [a]

device” and (2) “[o]pen [an] internet browser and register for the package of [one’s] choice.” Is

 

3 The government sought to compel disclosure from RCCL rather than from HCCL because the two
companies’ service agreement provides that once HCCL “leases the IP address to RCCL, [HCCL] neither
maintain[s] records of what devices are accessing the lntemet, nor when those devices are accessing the Internet.”
Amend. App. at 6.

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WiFi'Aval`lable For All My Devl`ces On A Royal Caribbean Cruise Ship?, ROYAL CARIBBEAN
lNT’L, https://www.royalcaribbean.com/faq/questions/onboard-internet-wifi-available (last
visited Mar. 7, 2018). RCCL charges passengers to access the internet, either wirelessly or
through an internet café, with prices varying by number of devices used and internet service
package purchased. Id.; see also What ls VOOMAn[d] How Much Does lt Cost?, ROYAL
CARIBBEAN lNT’L, https://www.royalcaribbean.com/faq/questions/onboard-internet-wifi-device-
policy (last visited 1\/lar. 7, 2018); Afterwara’s, ROYAL CARIBBEAN lNT’L,
http://www.royalcaribbean.com.au/beforeyouboard/whatToKnow/topTenFAQs/detail.do?pagena
me=top_l0_faqs&snav=2&faqld=310 (last visited l\/lar. 7, 2018).4 Indeed, RCCL advises
passengers to purchase internet access “precruise to enjoy the biggest discount from onboard
prices.” How Can IPurchase VOOMInternet Before My Cruise?, ROYAL CARIBBEAN INT’L,
https://www.royalcaribbean.com/faq/questions/internet-purchase-before-cruise (last visited l\/lar.
7, 2018). Prior to gaining wireless internet access, passengers are required to agree to a detailed
set ofterms and conditions. See RCCL’s Resp., Ex. A., RCCL Wi-Fi Access Terms and
Conditions, ECF No. 10-3; RCCL Decl. 11 9.
II. STANDARD OF REVIEW

Under 28 U.S.C. § 636(b)(3), “[a] magistratejudge may be assigned such additional
duties as are not inconsistent with the Constitution and laws of the United States.” As this matter
was not “designate[d]” to a magistrate judge by a district courtjudge within the meaning of

§ 636(b)(1)(A) or (B), the order denying the government’s application is an exercise ofthe

 

4 The Magistrate Judge erroneously assumed that RCCL fell into a category of“entities which offer free
WiFi as a convenience,” Mag. J. Order at 3 n.3, while the government “presumes that RCCL charges
subscribers/customers of its internet access service and requires them to login or otherwise identify themselves, as
the requested order seeks (among other things) subscriber names, addresses, identifying information and means of
payments, information which RCCL would presumably only collect if its customers/subscribers were being charged
for the service,” Gov’t’s Obj. at 10 n.4.

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Magistrate Judge’s “additional duties,” pursuant to § 636(b)(3), in conjunction with this Court’s
Local Criminal Rule 57.17(a), under which magistratejudges are granted the “duty” and the
“power” to “[i]ssue search warrants,” as well as to “[i]ssue subpoenas . . . or other orders
necessary to obtain the presence of parties or witnesses or evidence needed for court
proceedings.” LCrR 57.17(a)(3), (10).

Pursuant to Local Criminal Rule 59.3, a “magistratejudge’s warrant or order for which
review is requested” “in a criminal matter not assigned to a districtjudge, as authorized by LCrR
57.17(a) and 28 U.S.C. § 636(b)(3) . . . may be accepted, modified, set aside, or recommitted to
the magistrate judge with instructions, after de novo review by the Cliief.ludge.” LCrR 59.3(a)
& (b); see also In re Search of Information Associatea’ with [redacted]@gmal'l. com That Is
Stored at Preml'ses Controlled by Google, Inc. (“Google”), No. l6-mj-757, 2017 WL 3445634,
at *5 (D.D.C. July 31, 2017) (noting that “because this case arises out of the Magistrate Judge’s
‘additional duties’ jurisdiction pursuant to § 636(b)(3), the Magistrate Judge’s order is subject to
de novo review by the district court.”); In re U.S. for an Order Pursuant to 18 U.S.C. § 2705([))
(“Airbnb”), No. 17-mc-2490, 2018 WL 692923, at *3 (D.D.C. Jan. 30, 2018)(“1\/lagistratejudge
orders issued under the SCA in unassigned criminal matters are subject to de novo review.”).
Accordingly, the Magistrate Judge’s order is subject to de novo review by the district court.

III. DISCUSSION

The applicable statutory framework is first briefly summarized, followed by analysis
showing, consistent with the government’s objection, that RCCL is an ECS provider, as defined
in the SCA, for purposes ofthe government’s application, objection, and proposed § 2703(d)

order.

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A. Statutory Framework

Congress enacted the SCA in 1986 as part ofthe Electronic Communications Privacy Act
(“ECPA”), Pub, L. No. 99-508, 100 Stat. 1848 (1986). “The SCA regulates how stored wire and
electronic communications may lawfully be accessed or disclosed and imposes on covered
entities certain obligations regarding the disclosure and safeguarding of customer and subscriber
information.” Ai`rbnb, 2018 WL 692923, at *4. “Entities covered by the SCA face serious
penalties for violations ofthe Act, including actual damages of not less than $1,000 per offense,
punitive damages in certain cases, up to a year’s imprisonment for first offenses not committed
for purposes of commercial advantage, and administrative discipline.” ld. (citing 18 U.S.C. §§
2701 (b)(2), 2707(a)-(d)). As Ai`rbnb explained:

The SCA’s § 2703 permits the government, in specified circumstances, to compel

ECS and RCS providers to disclose customer records or information, as well as the

contents of their customers’ stored electronic communications. This provision’s

framework provides a sliding scale of protections, such that the legal mechanism

law enforcement utilizes and the showing required depend on the kind of

information sought. In other words, the rules for compelled disclosure operate like

an upside-down pyramid. The higher up the pyramid you go, the more information
the government can obtain.

ld. (alterations and internal quotation marks omitted) (quoting Orin S. Kerr, A User's Guide to
the Storea' Commum`cations Act, and a Legislator 's Guia’e to Amending lt (“User 's Guia'e”),
72 GEo. WASH. L. REv. 1208, 1222 (2004))).

An order pursuant to § 2703(d) may compel a provider of ECS or RCS to disclose
“record[s] or other information pertaining to a subscriber to or customer of such service,” 18
U.S.C. § 2703(0)(1), but “only ifthe governmental entity offers specific and articulable facts
showing that there are reasonable grounds to believe that . . . the records or other information
sought, are relevant and material to an ongoing criminal investigation” to obtain such an order,

id. § 2703(d). Such orders may compel disclosure of the myriad types of data maintained by a

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provider to enable a customer’s use of the service, but not “the contents of communications.” ld.
§ 2703(c)(1); see Kerr, User’s Gul'a’e, supra, at 1222 & n.96. “[T]he government is not required
to notify a customer that such information pertaining to the customer has been obtained,” and
“may require the recipient ofthe [§ 2703(d) order] not to notify the customer only by obtaining a
court order under § 2705(b) for nondisclosure.” Airbnb, 2018 WL 692923, at *4 (citing 18
U.S.C. §§ 2703(c)(3)), 2705(b)).

The central question is whether the entity to which the proposed SCA order is directed_
here, RCCL_“is a provider of ECS or RCS such that it is covered by the SCA generally and, in
particular, by §§ 2703 and 2705.” ld. at *5. The SCA defines ECS as “any service which
provides to users thereof the ability to send or receive wire or electronic communications.” 18
U.S.C. § 2510(15). This category of providers is “generally understood to refer to ‘telephone
companies and electronic mail companies,”’ Airbnb, 2018 WL 692923, at *5 (quoting Kerr,
User's Guia’e, supra, at 1214 n.38), but the operative definitions reach more broadly. The SCA
defines the term “electronic communication” as “‘any transfer of signs, signals, writing, images,
so‘unds, data, or intelligence of any nature transmitted in whole or in part by a wire, radio,
electromagnetic, photoelectronic or photooptical system that affects interstate or foreign
commerce.”’ ld. (quoting 18 U.S.C. § 2510(12)). “RCS, by contrast, is defined as ‘the provision
to the public of computer storage or processing services by means of an electronic
communications system,”’ with “‘electronic communications system’ further defined to mean
‘any wire, radio, electromagnetic, photooptical or photoelectronic facilities for the transmission
of wire or electronic communications, and any computer facilities or related electronic
equipment for the electronic storage of such communications.”’ ld. (quoting 18 U.S.C. §§

2510(14), 2711(2)). “The term ‘electronic storage’ means ‘any temporary, intermediate storage

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ofa wire or electronic communication incidental to the electronic transmission thereof,’ . . .
including any storage ‘for purposes of backup protection of such communication.”’ ld. (quoting
18 U.S.C. §§ 2510(17)(A)-(B)).

As noted in Airbnb, “technological advances since the enactment of ECPA and the SCA”
have “eroded” much of the difference between ECS and RCS providers, as “‘most network
service providers are multifunctional’ and ‘can act as providers of ECS in some contexts,
providers of RCS in other contexts, and as neither in some contexts as well.”’ ld. (quoting Kerr,
User's Gui.`de, supra, at 1215). “Thus, distinguishing between ECS and RCS has been described
as a ‘context sensitive’ exercise that focuses on ‘the provider’s role with respect to a particular
copy ofa particular communication, rather than the provider’s status in the abstract.”’ la’.
(quoting Kerr, User's Guia'e, supra, at 1215).

B. Royal Caribbean is an ECS Provider for the Purposes of This Application

RCCL provides passengers the ability to access the internet in order to, among other
things, effectuate money transfers, thus making the company a provider of ECS for the purposes
ofthe government’s amended application, objection, and proposed § 2703(d) order. Moreover,
RCCL is an ECS provider notwithstanding its provision of other services that are not ECS or
RCS and regardless of whether its primary business function is the provision of ECS.5

l. Royal Caribbean ’s Provis_ion of InternetAccess to Passengers Qualifies lt
As A Provider of Electronic Communication Service.

As discussed above, while the Target lP Address is the public-facing IP address

connecting a particular RCCL cruise ship to the internet, RCCL Decl. 1111 5, 1 1, the internal Ship

 

5 As the government points out, “ifthis Court determines that RCCL is not an ECS [provider], the records
sought will not be conferred with the higher protections provided by the SCA. Instead, the government will be able
to obtain these records as ordinary business records simply using a grand jury subpoena.” Amend. App. at 5 n.4
(quoting FED. R. CRiivi. P. 17(0)).

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Network dynamically assigns specific “private” lP addresses to individual customers to use for
particular sessions of internet connectivity, id. 11 8. These private IP addresses are “unknown
outside the Ship Network” and “can transmit communications only between a user’s device and
the Ship Network, not directly with the Internet.” ld. l\/lultiple RCCh passengers might connect
to the internet using the same Target lP Address. ld. The government’s proposed § 2703(d)
order seeks to compel RCCL to disclose “[a]ll records and other information,” other than the

contents of communication, relating to the passenger(s) using the Target IP address to connect to

the lnternet Orl_

Amend. App. at 1-3, 7; id., Attach. A (“Proposed Order Attach.”) at 1, ECF No. 1. This
information may enable law enforcement to identify the individual or individuals who took part
in the criminal scheme.

The specific information that the government seeks from RCCL includes the subscriber
or subscribers’ (1) “Names (including subscriber names, user names, and screen names);” (2)
“Addresses (including mailing addresses, residential addresses, business addresses and e-mail
addresses);” (3) “Local and long distance telephone connection records;” (4) “Records of session
times and durations, and the temporarily assigned network addresses (such as lP addresses)
associated with those sessions;” (5) “Length of service (including start date) and types of service
utilized;” (6) “Telephone or instrument numbers (including media access control (‘l\/lAC’)
addresses);” (7) “Other subscriber numbers or identities (including the registration lP address);”
and (8) “Means and Source of payment for such service (including any credit card or bank

account number) and billing records.” Proposed Order Attach. at 1. The government also seeks

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to compel production of “[r]ecords of user activity of the user(s), customer(s), or subscriber(s)
who used the IP Address at the date and time set forth above for each connection made to or
from the Domain, including log files; messaging logs; the date, time, length, and method of
connections; data transfer volume; user names; and source and destination IP addresses,” and
“[i]nformation about each communication sent or received by the user(s), customer(s), or
subscriber(s) who used the IP Address at the date and time set forth above, including the date and
time of the communication, the method of communication, and the source and destination of the
communication (such as source and destination e-mail addresses, lP addresses, and telephone
numbers).” ld. at 1-2. These requested records are “record[s] or other information pertaining to
a subscriber to or customer” of an ECS provider subject to compelled production under the
SCA, 18 U.S.C. § 2703(0), because RCCL, by providing passengers the ability to access the
internet_which includes the ability to send and receive electronic com.munications_is a
provider of ECS.

RCCL is an ECS provider for purposes of the government’s application and objection
because RCCL provided the internet access that enabled the targets to execute money transfers of
funds _ over the internet using the Target lP Address_
_. Amend. App. at 7. The communications effectuating these money transfers
constitute “transfer[s] of signs, signals, . . . data, or intelligence of any nature transmitted in
whole or in part by a[n] . . . electromagnetic, photoelectronic or photooptical system that affects
interstate or foreign commerce,” and thus Satisfy the SCA’s definition of“electronic

communication.” 18 U.S.C. § 2510(12).6 The SCA’s definition of“electronic communication

 

6 The SCA expressly excludes “e|ectronic funds transfer information stored by a financial institution in a
communications system used for the electronic storage and transfer of funds” from the definition of“electronic
communications.” 18 U.S.C. § 2510(12)(D). This exclusion is inapplicable here because although the information

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service,” meanwhile, “captures any service that stands as a ‘conduit’ for the transmission ofwire
or electronic communications from one user to another.” Councz`l on Am.-lslami`c Relations
Actl`on Network, lnc. v. Gaubatz, 793 F. Supp. 2d 311, 334 (D.D.C. 2011); see also Konop v.
l~lawaz`ian Airlines, lnc., 302 F.3d 868, 876 (9th Cir`. 2002) (holding that provision ofinternet
access enabling a user to access a website and transfer information from website owner to user
“fits the definition of ‘electronic communication”’). “[S]ervices that ‘facilitate communication’
between users typically have ‘features that would appear to satisfy the broad definitions of the
types of providers covered by the SCA, such as allowing users the ability to send and receive
electronic communications.”’ Airbnb, 2018 WL 692923, at *6 (alterations omitted) (quoting ln
re U.S. for an Order Pursuant to 28 U.S.C. § 165l(a) for Order Precluding Notice ofGrana’ Jury
Subpoena, No. 17-mc-1604, 2017 WL 3278929, at *1 n.1 (D.D.C. July 7, 2017)). RCCL
“facilitate[d] communication,” ia'. (alterations and internal quotation marks omitted), and served
as a “conduit,” Gaubatz, 793 F. Supp. 2d at 334, for the investigatory targets by providing
internet access, see How Fast ls Royal Caribbean 's VOOM Wi'-F 1` lnternet Connectl`on On
Boara’?, supra (“[Y]ou will be able to stream music and movies, upload pictures, video chat with
family and friends using FaceTime or Skype, check your email, look your stock prices, surfthe
web and stay connected with work,”).

Notably, RCCL likely is the only entity from which the government could obtain records
that would enable the targets’ identification Records in the possession of the financial services
provider that the targets used to execute the funds transfers in question likely could not reveal the
targets’ identities, as all web communications sent to persons aboard an RCCL cruise ship are

transmitted through the public, outward-facing lP address assigned to the ship’s antenna, and

 

at issue may qualify as “e|ectronic funds transfer information,” the data is stored by RCCL, which is not “a financial
institution.” ld

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only then directed to the private, inward-facing IP addresses assigned to particular passengers

. and crew members. RCCL Decl 11 5, 8. A § 2703(d) order directed to the financial services
provider thus could identify at most the particular ship from which the targets acted, not the
particular persons who executed the funds transfers in question. Similarly, the government likely
could not obtain information enabling the targets’ identification from Xcontrol or HCCL. As the
government has explained, the terms of RCCL’s service agreements with third-party ISPs
prevent such ISPs from “maintain[ing] records of what devices are accessing the Internet, []or
when those devices are accessing the lnternet.” See Amend. App. at 7.7 ln any event, whether
the government could have directed the proposed § 2703(d) order to a different entity-such as a
financial services entity or lSP_simply has no bearing on whether RCCL meets the statutory
definition of an ECS provider subject to compelled disclosure of subscriber or customer records.
Equally irrelevant to RCCL’s status as an ECS provider is the fact that RCCL contracts with
third parties to obtain the “1nternet satellite connectivity” and other “hardware and software that
enables guests onboard to connect to the lnternet using WiFi access points,” rather than
providing internet access without third party assistance. RCCL Decl. 1111 7, 1 1. Under the SCA,
whether the government may compel an entity to disclose records concerning electronic
communications service turns not on whether the entity “owns” the means by which such service
is provided, but on whether the entity “provide[s]” such service. 18 U.S.C. 2703(c).

2. Royal Caribbean ’s Primary Business Function ls lrrelevant T 0 lts Status
As A Provider of E CS.

The Magistrate Judge denied the government’s application on the ground that to classify

“any business which provides web access as a convenience” as an ECS provider would render

 

7 The government’s amended application addressed only HCCL in paiticular, but its reasoning appears
equally applicable to both HCCL and Xcontrol. See Amend. App. at 7.

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“every entity which now offers free WiFi” to be an ECS provider within the SCA’s meaning, a
result the Magistrate Judge concluded would be “[in]consistent with the intent of Congress in
enacting the [SCA].” l\/Iag. J. Order at 2-3; see also Sealed Order at 2 n.2, 17-mc-1756 (noting
“a general concern that such an interpretation would mean that any business which provides
wireless internet access to patrons would be subject to orders pursuant to § 2703(d),” and “would
work an unwarranted expansion of the statute”). This reasoning is both inapplicable here and
otherwise unfounded for several reasons.

As the government correctly observes, “this [matter] does not involve a provider of free
WiFi, as the government understands it.” Gov’t Obj. at 9-10. Rather, RCCL charges passengers
to access the internet, whether wirelessly or through an internet café. See Afterwara’s, supra
l\/Ioreover, the government’s proposed order seeks only limited records relating to particular
times and internet connection sessions as to which the government has presented specific and
articulable facts that the investigatory targets used the public-facing Target IP Address to execute
money transfers_ See Amend. App. at 7. ln this respect, as
the government correctly observes, construing § 2703 to apply to subscriber or customer records
protects rather than infringes on privacy, as the government must “offer[] specific and articulable
facts showing that there are reasonable grounds to believe that . . . records or other information
sought, are relevant and material to an ongoing criminal investigation” to obtain an order under §
2703(d), whereas the government need not make such a showing to obtain the records as
ordinary business records pursuant to a grand jury subpoena, see Amend. App. at 5 n.4 (quoting
FED. R. CRll\/I. P. 17(c)). As such, this is a focused request that does not seek all records

pertaining to any RCCL passenger’s use ofthe Target IP Address over the duration ofa cruise.

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l\/lore fundamentally, the Magistrate Judge’s hesitance to conclude that the SCA could
reach entities that merely provide internet access to customers is at odds with the language
chosen by Congress in defining ECS, expressly to mean “any service which provides to users
thereofthe ability to send or receive wire or electronic communications.” 18 U.S.C. § 2510(15).
This definition “captures any service that stands as a conduit for the transmission of wire or
electronic communications from one user to another and makes no reference to whether the
service at issue is a primary business function or is merely ancillary to support a business
function.” Airbnb, 2018 WL 692923, at *6 (internal quotation marks omitted); accord Gaubatz,
793 F. Supp. 2d at 334 (same). “Rather, the statutory definitions of ECS and RCS are functional
and context sensitive.” Al`rbnb, 2018 WL 692923, at *6. Wliat matters is “the service that is
being provided at a particular time (or as to a particular piece of electronic communication at a
particular time), rather than . . . the service provider itself.” lri re Uriitea' States, 665 F. Supp. 2d
1210, 1214 (D. Or. 2009); see also Kerr, User's Guia’e, supra, at 1215 (identifying “the
provider’s role with respect to a particular copy ofa particular communication, rather than the
provider’s status in the abstract,” as the relevant criterion in determining whether an entity is a
provider of ECS or RCS). Thus, “an entity that provides ECS . . . as only one part of its business
is still covered by the SCA.” Ai`rbnb, 2018 WL 692923, at *7 (citing Fraser v. Natioriwia’e Mut.
lns. Co., 352 F.3d 107, 114-15 (3d Cir. 2004) (insurance company that provided email service to
its employees was an ECS provider); Um`tea' States v. Mulliris, 992 F.2d 1472, 1478 (9th Cir.
1993) (airline that provided travel agents with computerized travel reservation system accessed

through separate computer terminals was an ECS provider)).8 Accordingly, for the purposes of

 

8 The Magistrate Judge did not address Mulli'ns and “regard[ed] the holding in Fraser as one confined to that
case,” for reasons not made clear in the Magistrate Judge’s opinion. Mag. J. Order at 2. While Fraser did not
involve, as here, a government application for compelled disclosure, its holding that an employei"s access to an
employee’s e-mail account on the employer’s system was not violative ofthe SCA rested on the clear conclusion

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this matter and the corresponding proposed § 2703(d) order, RCCL provides an ECS and
therefore falls within the scope of§ 2703(d).

3. Royal Caribbean Does Not Oppose Its Classification, ln T his Matter, As A
Pro vider OfECS.

RCCL “does not oppose for present purposes the government’s position that RCCL is a
provider of an [ECS] under the [SCA’s] broad definition of ECS in the operations of its Ship
Network that enable individuals onboard its cruise ships to send or receive electronic
communications via the lnternet to third parties.” RCCL’s Resp. at 1-2. RCCL’s concession
bolsters the conclusion that RCCL provides ECS for purposes ofthe government’s application,
objection, and proposed § 2703(d) order, though for the reasons explained above, this concession
is unnecessary to reach this conclusion.

RCCL emphasizes that it “tak[es] [no] position on whether the SCA would reach records
that pertain to a non-U.S.-based guest on a voyage that never entered U.S. territory, including
U.S. territorial waters,” as “the records at issue in this matter pertain to a Florida-based voyage.”
RCCL’s Resp. at 2 n.1. This Court has held that the SCA applies to “records or the content of
electronic communications from a U.S.-based service provider” regardless of whether the
records sought, “in whole or in part, may be stored on servers abroad,” provided that the
government has sufficiently supported its application with the showing necessary under the SCA
(either “probable cause” for a warrant issued pursuant to § 2703(a) or “specific and articulable
facts” for an order issued pursuant to § 2703(d)). Google, 2017 WL 3445634, at *5. Google
identified the relevant consideration, in determining whether the government may compel a

service provider to produce electronic information, as whether the provider is “subject to the

 

that the employer was a “communications service provider[],” regardless of its primary business function, and
therefore subject to SCA’s exception, under 18 U.S.C. 2701(c)(1), allowing such providers to access their own
systems with impunity. 352 F.3d at 115.

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jurisdiction of U.S. courts,” rejecting an argument that the government could not compel
production by a U.S.-based service provider of“records stored abroad.” la'. at *15.9 Thus,
because the relevant consideration in determining whether the SCA subjects subscriber or
customer records to compelled disclosure is whether a provider is based in the United States, id.,
and because it is not disputed that RCCL is based in l\/liami, Florida, see Amend. App. at 1,
whether the passenger(s) whose records are demanded by the § 2703(d) order is based in the
United States or voyaged through U.S. territory is irrelevant.
IV. CONCLUSION

F or the reasons stated above, the government’s objection is sustained, the Magistrate
Judge’s Order is reversed, and the government’s amended application for an order pursuant to 18
U.S.C. § 2703(d) is granted. The government is directed, by l\/Iarch 19, 2018, to review this
l\/lemorandum Opinion and the entire record in this matter and advise the Court of which docket
entries may be unsealed in whole or in part, with proposed redactions as necessary to protect any
ongoing criminal investigations An appropriate Order, which is filed under seal, accompanies
this l\/lemorandum Opinion.

Date: March 8, 2018

 

 

BERYL A. HOWELL
ChiefJudge

 

9 As RCCL notes, the U.S. Supreme Court may address issues related to the SCA’s reach in Unitea' Slales v.
Microsofl Corp., No. 17-2. RCCL’s Resp. at 2 n.1.

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